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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                  MEMORANDUM


Honorable Lawrence K. Karlton
Senior United States District Judge
Sacramento, California

                                          RE:    Crystal J. HOUSLEY
                                                 Docket Number: 2:06CR00425-001
                                                 RELEASE OF CONFIDENTIAL
                                                 INFORMATION

Your Honor:

On February 27, 2007, the offender was sentenced to three months custody of the Bureau
of Prisons, a 36 month term of supervised release, $200 special assessment, and
$4,894.91 restitution, for a violations of 18 USC 371, 1341 - Conspiracy to Commit Mail
Fraud, and 18 USC 287 - False Claims to an Agency of the United States, Class D felonies.
Special conditions include: Search; Financial disclosure; Do not incur new credit charges;
Participate in drug and alcohol treatment programs; Participate in drug and alcohol testing;
Reside and participate in a residential community corrections center for three months; and
Aftercare co-payment. After having been found guilty of violations of supervised release
for Use of a Controlled Substance and Failure to Participate in a Community Corrections
Center, the Court revoked the offender's supervised release on June 26, 2007, and
sentenced her to 11 months custody with the Bureau of Prisons, followed by a 25 month
term of supervised release. All of the original terms of supervision were ordered.

On March 26, 2008, the offender released from the Bureau of Prisons and agreed to reside
in a Community Corrections Center as a public law placement based on her lack of
community ties and resources. The offender remained in the Community Corrections
Center until May 31, 2008, when she was removed for having contact with another
resident.

Given the offender's substance abuse history, she was placed in a residential treatment
program on June 9, 2008. She successfully completed the residential treatment program


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on September 9, 2008. Thereafter, she was placed in a clean and sober living
environment, where she remains to date.

A check with the California Law Enforcement Telecommunication System revealed the
offender has an outstanding arrest warrant from Linn County Circuit Court (Oregon), Case
Number 04-020437. To resolve this warrant, the offender must appear in person in court.
As a result, the offender is requesting documentation that she is on supervised release and
is cooperating with the terms and conditions as ordered by the court. She would like the
Circuit Court in Oregon to know that she has successfully completed a residential treatment
program and that all urine tests have been clean to date.

Given the above, this officer is respectfully requesting the Court allow this officer to write
a letter documenting her situation on supervised release, indicating she has successfully
completed residential treatment, is residing in a clean and sober living environment, and
has had all negative urine tests to date. This officer is requesting the Court allow the
information to be released to Linn County Circuit Court, the prosecuting attorney's office,
the offender's defense attorney, and the offender.

Should the Court have any questions, this officer can be reached at (916) 930-4389.
                              Respectfully submitted,

                               /s/Kyriacos M. Simonidis for
                                     TONI M. ORTIZ
                             United States Probation Officer

Dated:        September 22, 2008
              Sacramento, California
              TMO/cp


REVIEWED BY:         /s/Kyriacos M. SImonidis
                     KYRIACOS M. SIMONIDIS
                     Supervising United States Probation Officer


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cc:   Michelle Rodriguez
      Assistant United States Attorney

      Linda C. Harter
      Defense Counsel


______________________________________________________________________
_____________________________________________________________________



AGREE: ____U______                           DISAGREE: ___________




___________________________________________                  September 24, 2008
LAWRENCE K. KARLTON                                          DATE
United States District Judge




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